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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

MADISON M. LARA, SOPHIA KNEPLEY,                     }
LOGAN D. MILLER, SECOND AMENDMENT                    }   No. 2:20-cv-01582-WSS
FOUNDATION, INC. and FIREARMS POLICY                 }
COALITION,                                           }   Judge Stickman
                                                     }
                            Plaintiff,               }
                                                     }
              vs.                                    }
                                                     }
COL. ROBERT EVANCHICK,                               }
Commissioner of Pennsylvania State Police,           }
                                                     }   Electronically Filed.
                            Defendant.               }


                                    ORDER OF COURT


       AND NOW, this _____ day of _______________, 2024, upon consideration of the

Defendant’s Emergency Motion to Alter or Amend Judgment under Fed. R.Civ. P. 59(e) or, in

the Alternative, Motion for Reconsideration under Fed. R.Civ. P. 60(b) heretofore filed, IT IS

HEREBY ORDERED that said Motion is GRANTED. ACCORDINGLY, the Order of Court

[ECF 51] is HEREBY AMENDED to read as follows: The Commissioner of the Pennsylvania

State Police is hereby enjoined from arresting law-abiding 18-to-20-year-olds who openly carry

firearms during a state of emergency declared by the Commonwealth under 18 Pa.C.S. § 6107.




                                                   BY THE COURT:



                                                   William S. Stickman,
                                                   United States District Judge
